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             IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF OKLAHOMA

(1) DAVID R. SPARKS,

                       Plaintiff,

v.                                               Case No. 14-CV-546-W

(1) JOHN M. CAMPBELL AND COMPANY,

                       Defendant.




        DEFENDANT JOHN M. CAMPBELL AND COMPANY’S
             MOTION FOR SUMMARY JUDGMENT




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                   MOTION FOR SUMMARY JUDGMENT

      COMES NOW, Defendant John M. Campbell and Company (“JMC”), by

and through its counsel, Holden & Carr, pursuant to Fed. R. Civ. P. 56, and hereby

respectfully moves this Court to grant summary judgment in its favor, because,

taking the facts in the light most favorable to Plaintiff, David Sparks cannot

establish all necessary elements of his ADEA claim. In support of its Motion,

Defendant John M. Campbell and Company would show the Court as follows:

                               INTRODUCTION

      This case arises from Plaintiff David Sparks (“Sparks”) allegation that his

former employer, Defendant John M. Campbell and Company (hereinafter “JMC”

or “the Company”), discriminated against him in violation of federal law on the

basis of his age. Specifically, Sparks alleges that JMC violated the Age

Discrimination in Employment Act of 1967 (“ADEA”) when the Company

terminated his employment in March 2013 after his position as Building Manager,

was eliminated.

      On November 30, 2012, one hundred percent of the stock of JMC was

acquired by PetroSkills JMC, LLC, an unrelated Delaware limited liability

company. The office building in which JMC was located was not acquired by

PetroSkills JMC, LLC in the transaction. Consequently, after the purchase closed,
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a building manager was no longer needed by JMC. Sparks’ position as Building

Manager was eliminated in March 2013 for lack of work.

      Although he applied and was interviewed, Sparks was not selected for the

newly created position of JMC Office Manager because he had limited

administrative and secretarial skills which were required for the job. JMC had a

legitimate business and non-discriminatory reasons – unconnected to age

discrimination - for the elimination of the Building Manager position, the

termination of Sparks’ employment and its subsequent hiring decision.

      Since filing his Complaint, Sparks has been given ample opportunity to

provide evidence, if any, which would connect the Company’s actions to age

discrimination. The time frame for discovery in this case is now over, and although

Defendant has inquired, neither Sparks nor any other witness has come forward

with even a scintilla of evidence that JMC ever discriminated against anyone in

violation of the ADEA. When asked in deposition for evidence of his claim, Sparks

could only point to a single, isolated comment made by a Company manager in

2011. A single stray comment, occurring more than two years before Sparks’ claim

allegedly accrued is insufficient to defeat summary adjudication in this case.

      JMC did not discriminate against Sparks on the basis of his age. In fact,

Sparks, by his own admission, has no viable claim against JMC and no evidence

that would create a genuine issue of material fact as to whether JMC discriminated



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against him under federal law. JMC is entitled to summary judgment as to all of

Sparks’ claims as a matter of law and respectfully asks this Court to grant this

motion.

                 STATEMENT OF UNCONTROVERTED FACTS

      For the purposes of this Motion only, the following facts are asserted as

uncontroverted:

A.    JMC’s Business and it’s Merger with the PetroSkills Group of
      Companies

      1.       John M. Campbell and Company (“JMC”) provides technical training

worldwide for the petroleum industry. JMC focuses on “facilities” training or

training which relates to the transportation and processing of oil and gas. See

Exhibit 1, Deposition of Bob Hubbard, 8:1-6; see also Exhibit 2, Deposition of David

Sparks, 37:13-17.

      2.      “PetroSkills” is a trade name of common use for a group of more than

20 companies, ultimately owned by PetroSkills Holdings, LLC, which provides

technical training, competency management services and certain hosted software

services for the oil and gas industry. See Exhibit 3, Affidavit of Patricia Kirch.

      3.      The subsidiaries and branches owned by PetroSkills Holdings, LLC

are collectively referred to herein as the “PetroSkills Group.” See Exhibit 3,

Affidavit of Patricia Kirch.




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       4.      On November 30, 2012, 100% of the stock of JMC was acquired by

PetroSkills-JMC, LLC, and JMC became a member of the PetroSkills Group. See

Exhibit 3, Affidavit of Patricia Kirch.

B.     Sparks’ Educational Background and Employment with JMC

       5.       Sparks obtained an accounting degree from Texas Tech University in

1974. See Exhibit 2, Deposition of David Sparks, 21:19- 22:3.

       6.      Sparks worked briefly with Conoco in Ponca City after graduating

from Texas Tech in a project management position for approximately nine years.

See id. at 22:7-23:1; 25:6-19.

       7.      Sparks moved to a Director of Finance position with Trans-Central

Airlines in approximately 1982 or 1983. See id. at 24:1-12.

       8.      Sparks next took a position as a Data Security Office with Fidelity

Bank. See id. at 24:16-25:2.

       9.      Sparks took a position with CITGO following his termination from

Fidelity Bank. During his tenure there, he held two positions in the financial field:

EDP audit supervisor and state tax manager. See id. at 28:4-29:13.

       10.     After CITGO, Sparks worked briefly for Anson Gas as an information

systems manager. See id. at 29:17-30:2.

       11.     After leaving Anson Gas, Sparks worked for the State of Oklahoma.

He started in the audit department as an EDP auditor before moving to the



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information services department. He later moved to the Treasurer’s office. See id.

at 30:3-31:2.

         12.    Sparks briefly moved to a health plan start up, Heartland Health Plan,

in the mid-1990s as the information services manager. See id. at 31:9-32:21.

         13.    In 1998, Sparks was hired through a temp placement at JMC for their

information services department. See id. at 35:20-36:3.

         14.    Although responsible for IT operation and management at JMC,

Sparks did not attend a single continuing education course relating to IT or

computers from 1998 to 2013. See id. at 67:8-11.

         15.    In 2011, JMC recruited and hired an outside IT specialist, formerly of

the University of Oklahoma, specifically because of ongoing problems and

inefficiencies with regard to the management and operation of its computer

network. See Exhibit 4, Response to Plaintiff’s First Interrogatories, No. 1.

         16.    Defendant has no record of Plaintiff complaining about the hiring of

a new IT manager. See Exhibit 4, Response to Plaintiff’s First Interrogatories,

No. 1.

         17.    After the new IT manager was hired by the Company, JMC

reassigned Sparks to the position of JMC Building Manager. Although no longer

in IT, Sparks retained his salary of $96,000 per year plus benefits. See Exhibit 2,

Deposition of Sparks, 74:14-75:1.



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         18.   By Sparks’ own admission, the Building Manager duties included

supervision of the “operation of the building and general responsibilities for the

building, and a lot of leasing transactions with the tenants, and any contracts that

were involved in the operation of the building [including] [j]anitorial, lawn,

electrical, gas, telephone.” See Exhibit 2, Deposition of Sparks, 55:24-11.

C.       JMC’s Reduction in Force and the Termination of Sparks’ Employment

         19.   The building was not included in the sale of JMC to the PetroSkills

Group. Before and after the sale, the JMC office building was owned by Collier

Leasing, LLC f/k/a JMC Leasing, LLC. See Exhibit 4, Response to Plaintiff’s First

Interrogatories, No. 2.

         20.   Since none of the entities within the PetroSkills Group owned the JMC

office building in Norman, Oklahoma, JMC no longer needed a Building Manager.

See Exhibit 4, Response to Plaintiff’s First Interrogatories, No. 2; see also Exhibit 1,

Deposition of Bob Hubbard, 15:16-23; 17:19-18:19.

         21.   Accordingly, Plaintiff’s position was eliminated, effective March 31,

2013, for lack of work. See Exhibit 4, Response to Plaintiff’s First Interrogatories,

No. 2.

         22.   Collier Leasing, LLC contracted with Plaintiff (as an independent

contractor) to manage the JMC office building on a temporary, part-time basis. The




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temporary position lasted approximately two months. See Exhibit 2, Deposition of

David Sparks, 96:4-97:2.

           23.     From May 2011 to October 2014 1, a total of 43 persons were

terminated from their employ with JMC. Of these individuals, 14 persons were

terminated as a result of force reduction, lack of work or redundancy. Of the 14,

8 were over age 40 and 6 were under age 40. See Exhibit 4, Response to Plaintiff’s

First Interrogatories, No. 14.

D.         JMC’s Anti-Discrimination and Harassment Policies

           24.     JMC’s Anti-Discrimination Policy, which is contained in the

Company’s Employee Manual, expressly prohibits the kind of conduct alleged in

Sparks’ Amended Complaint. See Exhibit 5, Employee Handbook, Anti-

Discrimination Policy.

           25.     On January 17, 2003, Sparks acknowledged receipt of JMC’s Anti-

Discrimination Policy, which included a detailed reporting procedure for

instances         of    discrimination.        See     Exhibit      6,    Anti-Discrimination   Policy

Acknowledgment.

           26.     On March 5, 2008, Sparks acknowledged receipt of John M.

Campbell’s Employee Manual and Anti-Discrimination Policy which included a




1   October 2014 is reflective of the date of the referenced discovery.


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detailed reporting procedure for instances of discrimination. See Exhibit 7,

Employee Handbook Acknowledgement.

      27.    Plaintiff even initialed and dated the specific pages of the Employee

Handbook that pertain to JMC’s Anti-Discrimination and Reporting Policies. See

Exhibit 5, Employee Handbook, Anti-Discrimination Policy

E.    Office Assistant Position

      28.    The JMC “Office Manager” position combined the existing position

of Administrative Assistant to Facilities/Training Executives and other

administrative duties with the expanded duties relating to managing office

functions. See Exhibit 9, Office Manager Job Description; Exhibit 4, Response to

Plaintiff’s First Interrogatories, No. 6; see also Exhibit 1, Deposition of Bob

Hubbard, 40:23-41:5.

      29.    .Sparks was given the opportunity to interview for the position of

Office Manager. See Exhibit 4, Response to Plaintiff’s First Interrogatories, No. 6;

Exhibit 2, Deposition of Sparks, 90:12-91:24.

      30.    Mia Pratcher, who held the position of Administrative Assistant to

Robert A. Hubbard, was ultimately selected for the Office Manager position. See

Exhibit 4, Response to Plaintiff’s First Interrogatories, No. 6.

      31.    Hubbard, who conducted the interviews for the Office Manager

position, stated that he was concerned as to whether Plaintiff could adequately



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perform the administrative/secretarial duties required for the position. See Exhibit

4, Response to Plaintiff’s First Interrogatories, No. 6; Exhibit 1, Deposition of

Hubbard, 38:22-39:7; 50:22-51:3 66:25-67:25.

      32.    Hubbard was also concerned that the salary for the Office Manager

position would represent a substantial reduction in pay for Plaintiff, which might

be a source of discontent for Plaintiff. See Exhibit 4, Response to Plaintiff’s First

Interrogatories, No. 6; Exhibit 1, Deposition of Bob Hubbard, 54:17-55:1.

F.    Sparks’ Allegations of Discrimination and his Dispositive Admissions

      33.    Sparks testified that during his nearly fifteen years of employment

with the Company, he could only remember one isolated stray comment

pertaining to age, allegedly made in 2011:

      Question: At some point in 2011 Mr. Staggs, in his office with just
      you and he, made the statement to you that “IT is for young guys.”
      That statement was made one time, and nobody made that
      statement to you either before or after that time.
      Answer:     To my knowledge, yes.

      See Exhibit 2, Deposition of David Sparks, 47:3.

      34.    Stephen R. Staggs, a former Company manager, testified that he

made the comment to Sparks concerning IT, but any such isolated comment was

not directed to Sparks’ age, but rather in reference to Sparks’ lack of education and




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technical training regarding the fast growing and evolving IT technology. 2

Mr. Staggs further stated that Sparks was unable to provide adequate IT support

for the Company and was consequently replaced with a more skilled IT manager.

        35.     Before and after the sale of JMC to the PetroSkills Group, Hubbard

and another Company principal, D. John Morgan, met with Sparks multiple times

to advise him that the position of Building Manger would likely be eliminated as

the JMC office building had not been acquired by the PetroSkills Group. See

Exhibit 1, Deposition of Hubbard, 15:16-23; 17:19-18:19.

        36.     Sparks admits he was told in advance that the Building Manager

position was going to be eliminated. See Exhibit 2, Deposition of Sparks, 88:5-18.

        37.     Further, Sparks admits his termination on March 31, 2013 was due to

the elimination of the Building Manager position. See Exhibit 2, Deposition of

David Sparks, 86:8-24.

        38.     The Office Manager position was eliminated in 2014. See Exhibit 1,

Deposition of Hubbard, 62:14-19.




2Steve Staggs was deposed on September 28, 2015 in Frisco, Texas. At time of filing, Staggs’ deposition was
not yet transcribed; JMC puts the Plaintiff and the Court on notice it will seek leave of Court to Supplement
the Court with the relevant testimony upon receipt of the same.


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                       ARGUMENTS AND AUTHORITIES

I.    SUMMARY JUDGMENT STANDARD

      Pursuant to Fed. R. Civ. P. 56(a), a court reviewing a motion for summary

judgment must view the evidence and draw reasonable inferences therefrom in

the light most favorable to the nonmoving party. Doe v. City of Albuquerque, 667

F.3d 1111, 1123 (10th Cir. 2012). “The plain language of Rule 56(c) mandates the

entry of summary judgment, after adequate time for discovery and upon motion,

against a party who fails to make a showing sufficient to establish the existence of

an element essential to that party’s case, and on which that party will bear the

burden of proof at trial.” Celotex Corp. v. Catrett, 477 U.S. 317, 317 (1986).

      JMC is not required to disprove Sparks’ claim; rather, JMC must simply

demonstrate that, in the light most favorable to Plaintiff, there is no genuine issue

of material facts and the facts warrant judgment in favor of the moving party. A

factual dispute is material if it might affect the outcome of the case under the

governing substantive law. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

A genuine issue exists only “if the evidence is such that a reasonable jury could

return a verdict for the nonmoving party.” Id.

      Sparks must establish that a genuine issue of facts exists with affirmative

evidence; he cannot rely solely on allegations or denials to create an issue of fact.

See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252 (1986) (“The mere existence of



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a scintilla of evidence in support of the plaintiff’s position will be insufficient; there

must be evidence on which the jury could reasonably find for the plaintiff.”). Any

failure on the part of Plaintiff to establish any of the essential elements of Sparks’

claim requires the entry of summary judgment in favor of JMC.

      Furthermore, even in the light most favorable to Plaintiff, such a single

comment made in early 2011 is not probative on the case before the Court. The

comment was not made by anyone involved in his termination. In fact, Staggs had

departed the company nearly a year prior to Sparks’ termination. The single

comment and Sparks’ termination are separated by several years – years in which

Plaintiff admits absolutely no comments were made to him pertaining age. This

solitary comment is neither probative nor indicative of a pattern of discriminatory

behavior.

      Pursuant to the prescribed standard, Defendant John M. Campbell and

Company is entitled to judgment in its favor since Plaintiff cannot establish the

essential elements of his ADEA claim.

      PROPOSITION I: Sparks’ Claim Under The ADEA As It Pertains To His
      Position In The IT Department Is Barred By The Statute Of Limitations.

      It is anticipated that Plaintiff will seek to utilize a single comment allegedly

uttered by his friend and confidant, Stephen R. Staggs, to illustrate a practice of

age discrimination. The alleged comment was made in a private conversation in

2011. There is a two-year statute of limitations under the ADEA, 29 U.S.C. § 255(a),

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rendering the statute of limitations for any such allegation to run in 2013. In United

Airlines, Inc. v. Evans, 431 U.S. 553 (1977), the United States Supreme Court held

that a continuing violation cannot be established merely by allegations that the

plaintiff continues to suffer from the ongoing effects of some past act of

discrimination.

      Cade was hired as Senior Manager of Operations Services in the JMC IT

Department on February 21, 2011. Cade was more qualified for the IT Department

Senior Management position, as he had IT experience with the University of

Oklahoma. Sparks’ background was primarily in accounting, although he did not

work in the JMC accounting department. Sparks candidly denies attending

continuing education classes to maintain his qualifications as an IT professional

while working with JMC since 1998. JMC, as a fast growing company, was in need

of an experienced and qualified IT Department Manager. Furthermore, Sparks

himself expressed a desire to change departments in his own evaluations.

      As Cade was hired on February 21, 2011, Sparks was barred from making

an ADEA claim as of February 21, 2013 in regards to his position within the IT

Department. Regardless, even if the statute of limitations had not passed, JMC has

valid, legitimate business reasons for hiring Cade in the IT Department, and the

reasons are not based on Sparks’ age in any way.




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       PROPOSITION II: John M. Campbell and Company Is Entitled to
       Summary Judgment Because Sparks Cannot Carry His Burden of Proving
       the Elements of His Age Discrimination Claim Under the ADEA

       An ADEA plaintiff may establish a claim for intentional age discrimination

either (i) by demonstrating through direct or circumstantial evidence that age

discrimination motivated the employer’s adverse employment decision, or (ii) by

way of the McDonnell Douglas framework, under which the employee, after

establishing a prima facie case of discrimination, demonstrates that the employer’s

proffered permissible reason for taking an adverse employment action is actually

a pretext for discrimination. Age Discrimination in Employment Act of 1967,

29 U.S.C.A. § 621 et seq.; see also Gordon v. Napolitano, 863 F. Supp.2d 541 (E.D. Va.

2012). The employee must show that age was the “but for” cause of an adverse

employment action. Howard v. Steris Corp., 886 F. Supp. 2d 1279 (M.D. Ala. 2012);

see also Univ. of Texas Sw. Med. Ctr. v. Nassar, 133 S. Ct. 2517, 2525 (2013).

       a. Sparks’ Claims Under the ADEA Fail Because Sparks Failed To
          Establish a Prima Facie Case of Discrimination Based on Age or To
          Show That Age Discrimination Was The “But-For” Cause of His
          Discharge

       An ADEA age discrimination claim requires a plaintiff to establish and

prove that his or her age was the “but-for” cause of his termination. Gross v. FBL

Fin. Servs., Inc., 557 U.S. 167, 178 (2009).




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      In this matter, Plaintiff has not brought forth any evidence, direct or

otherwise, of his allegation of age discrimination. Therefore, the Plaintiff’s claims

fail and the Court must grant summary judgment in Defendant’s favor.

               i.   Sparks Has Failed To Establish a Prima Facie Case of Age
                    Discrimination

      For a prima facie case of age discrimination under the ADEA, a plaintiff must

establish all four of the following elements: (1) he is within the protected age group

(2) he was doing satisfactory work, (3) he was discharged, and (4) he has some

evidence that the employer intended to discriminate against him in reaching its

decision. Hinds v. Sprint/United Mgmt. Co., 523 F.3d 1187, 1195 (10th Cir. 2008).

      The first and third elements are not in dispute. However, while there is some

dispute as to the second element, it is irrelevant as the fourth element is fatal to

Plaintiff’s case. Sparks cannot meet the fourth prong of a prima facie case for several

reasons.

      First, the only evidence in this case with respect to JMC’s treatment of

employees in the protected class demonstrates that those involved in a force

reduction, lack of work or redundancy termination are nearly the same amount.

From May 2011 through October 2014, of the 43 individuals who left their employ

with JMC, 14 were terminated for force reduction, lack of work or redundancy. Of

the 14, 8 were over age 40 and 6 were under age 40. Plaintiff was terminated for

lack of work as his position was eliminated. The statistics challenge Plaintiff’s


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claims. See Webb v. Level 3 Commc’ns, LLC, 167 F.App’x 725, 727 (10th Cir. 2006)

(granting summary judgment in favor of employer where, of the 49 employees

terminated during reduction, 24 were over age 40 and 25 were under age 40).

      Second, Sparks cites to an isolated solitary comment made between himself

and his friend to build up an allegation of age discrimination. Sparks states his

friend, Stephen R. Staggs, made a comment in 2011 that “IT is for young guys.”

This comment was made in his office, out of earshot from any other witness to

verify the actual utterance. Sparks confirms that absolutely no other comments

pertaining to age were made before or after the comment. “A single statement

alone cannot support an inference of discriminatory intent.” Douglas v. Banta

Homes Corp., No. 11 CIV. 7217 KBF, 2012 WL 4378109, at *4 (S.D.N.Y. Sept. 21,

2012)(citing Timbie v. Eli Lilly & Co., 429 Fed. Appx. 20, 23–24 (2d Cir.2011) (finding

a single remark, which the Court found “facially age-based”, “insufficient to allow

[plaintiff] to carry her burden in showing that age-discrimination was the ‘but-for’

cause”). A stray comment is insufficient to establish age was a motivating factor

in a company’s termination decision, especially when the alleged comment was

made several years prior.

      Third, JMC hired the individual who was best suited for the Office Manager

position. Sparks and Mia Pratcher were both formally interviewed for the single

Office Manager position. In light of the clerical duties associated with the position,



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JMC determined Pratcher would be a better fit. Although Pratcher is younger than

Sparks, age was not a factor in the determination. Furthermore, replacement by an

individual under the age of 40 is not an element of the prima facie claim; it is also

not a dispositive factor. The Supreme Court explicitly rejected replacement by a

person under the age of 40 as a mandatory element of a prima facie case. O’Connor

v. Consol. Coin Caterers Corp., 517 U.S. 308, 312 (1996). The Supreme Court, in

O’Connor, highlighted the need for a “logical connection” between the elements

of a prima facie case and the alleged discrimination. Id. at 311–12.; see also Maxey v.

Rest. Concepts II, LLC, 654 F. Supp. 2d 1284, 1293-94 (D. Colo. 2009). Additionally,

the Office Manager position itself only lasted approximately a year before it was

eliminated.

      Finally, Sparks was aware that his position was going to be eliminated as

early as December, 2012 – nearly four months before his last day of work on March

31, 2013. Sparks met with Bob Hubbard and John Morgan on at least two instances

where he was forewarned his position was going to be eliminated in light of the

merger. At no time did Plaintiff make a complaint to JMC alleging age

discrimination during any of these meetings. Sparks had been employed with JMC

since 1998, and had a copy of his employment manual, which set forth the JMC

anti-discrimination policy, and directions on how to bring a complaint of

discrimination to the company’s attention. He did no such thing.



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      Sparks was interviewed and considered for the Office Manager position. It

was ultimately determined that the other candidate, Mia Pratcher would be a

better fit in light of the duties and the drastic pay cut Sparks would be subjected

to if chosen. At no time did Hubbard or another JMC representative promise to

hire or find a new position for Sparks within the company, but they forewarned

him that his position was being eliminated.

      Under these circumstances, Sparks has failed to meet his burden of

establishing a prima facie case of age discrimination. The Court should grant

summary judgment in favor of JMC.

             b. John M. Campbell and Company Has Articulated Legitimate,
                Nondiscriminatory Reasons for Sparks’ Discharge, Which
                Sparks Has Failed to Show Were Pretextual

      Even if Plaintiff were to establish the prima facie case for age discrimination

under the ADEA, which is denied by JMC, Sparks was terminated for a legitimate,

non discriminatory reason. See e.g. St. Mary’s Honor Ctr. v. Hicks, 509 U.S. 502, 509

(1993). Sparks’ position was eliminated – the company no longer owned the

building, rendering his position not only superfluous, but nonexistent.

      As discussed in detail above, JMC terminated Sparks’ position after the JMC

office building was not included in the JMC acquisition by the PetroSkills Group.

JMC no longer owned the building, rendering a Building Manager unnecessary.




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In fact, immediately after Sparks’ termination, he was contracted through the

building’s owner, Collier Leasing, LLC.

      Plaintiff’s allegation he was not chosen for the Office Manager position due

to his age is also unfounded. As stated above, JMC formally interviewed two

candidates; JMC determined the other candidate, Mia Pratcher, was a better fit,

due to the clerical aspects of the position. At no time was age a factor or motivating

aspect.

      Once the employer has met its burden to establish the legitimate,

nondiscriminatory reason for the Plaintiff’s termination, the burden shifts back to

the Plaintiff. In order to be successful on his claim, Plaintiff must produce sufficient

evidence to show that the reason given for an adverse employment action was a

pretext for discrimination. Timmerman v. U.S. Bank, N.A., 483 F.3d 1106, 1113 (10th

Cir. 2007).

      In the instant matter, Sparks has presented absolutely no evidence that

would support the conclusion that JMC’s stated reasons for terminating his

employment were pretextual, let alone that age discrimination was the “but-for”

cause of his discharge. Gross, 557 U.S. at 176-7. Rather, the uncontroverted facts

clearly demonstrates that Sparks’ age was not a consideration in his termination

or the determination to not hire for the Office Manager position. Summary

judgment in favor of JMC is therefore appropriate.



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      PROPOSITION III: There Is No Evidence Of Willfulness To Support A
      Claim For Liquidated Damages

      Alternatively, if summary judgment is not granted as to Plaintiff’s ADEA

claim pursuant to the above-referenced Propositions, Defendant is entitled to

summary judgment as to Plaintiff’s claim for liquidated damages since Plaintiff

has no evidence that Defendant was willful in terminating Plaintiff’s employment.

For the purposes of succinctness, Defendant JMC incorporates by reference the

law and argument provided in Propositions I-II as though fully set forth herein.

      The ADEA states that “liquidated damages shall be payable only in cases of

willful violations of this chapter.” See 29 U.S.C. § 626(b). Pursuant to this provision,

the ADEA consists of a two-tier structure where only willful violations give rise to

liquidated damages. Hazen Paper Co. vs. Biggins, 507 U.S. 604, 614 (1993). A willful

violation of ADEA occurs if the employer knew or showed reckless disregard in

the conduct that allegedly violated the ADEA. Id. Generally, the term “willful”

refers to conduct that is not merely negligent. Id. “If an employer incorrectly but

in good faith and nonrecklessly believes that the statute permits a particular age-

based decision, then liquidated damages should not be imposed.” Id. at 616

(citations omitted).

      In Trans World Airlines, Inc. v. Thurston, 469 U.S. 111 (1985), the United States

Supreme Court determined that although Trans World Airlines violated the

ADEA by not affording older captains the same transfer privileges as under 40


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captains, the awarding of liquidated damages was improper because the employer

acted nonrecklessly and in good faith in attempting to determine whether its plan

would violate the ADEA. Id. at 129. The Supreme Court, in McLaughlin v. Richland

Shoe Co., 486 U.S. 128 (1988) further clarified the rule:

       If an employer acts reasonably in determining its legal obligation, its
       action cannot be deemed willful under either petitioner’s test or under
       the standard we set forth. If an employer acts unreasonably, but not
       recklessly, in determining its legal obligation, then, although its action
       would be considered willful under petitioner’s test, it should not be
       so considered under Thurston or the identical standard we approve
       today.

Id. at 135, fn. 13.

       JMC provides its employees an employee handbook, which sets forth the

anti-discriminatory policies it has adopted. The provisions clearly state that JMC

will not tolerate any discriminatory treatment, including disparate treatment on

the basis of age. Furthermore, the Anti-Discrimination Policy sets out a detailed

reporting procedure for instances of discrimination.

       Sparks acknowledged receipt of the Handbook as well as the specific Anti-

Discrimination Policy. During his tenure at JMC, Sparks had ample opportunity

to review the equal employment policy contained in the Handbook. The Anti-

Discrimination Policy clearly prohibits discrimination based on age.

       Defendants’ actions in terminating Plaintiff’s employment were not willful,

nor were they in violation of the ADEA. JMC has a detailed Anti-Discrimination



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Policy in place in an effort to eliminate discriminatory behavior. In addition, JMC

provides a way for employees to report behavior that violates the Anti-

Discrimination Policy. At no time did Sparks alert any others at JMC he felt he was

subject to ageism. There is simply no evidence of willfulness. Accordingly, JMC is

entitled to summary judgment on Plaintiff’s claim for liquidated damages under

the ADEA.

                                 CONCLUSION

      There is no evidence whatsoever to suggest that Sparks’ termination was

related in any way to his age. There is no reasonable inference that Sparks’ age was

a contributing factor in his termination. In short, Sparks is unable to show his age

was a “but for” cause of his termination.

      WHEREFORE, premises considered, Defendant John M. Campbell and

Company respectfully requests that the Court grant its Motion for Summary

Judgment as to all of David Sparks’ claims.




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                                     Respectfully submitted,

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                          CERTIFICATE OF SERVICE

       I hereby certify that on the 1st day of October, 2015, I electronically
transmitted the attached document to the Clerk of Court using the ECF System for
filing. Based on the records currently on file, the Clerk of Court will transmit a
Notice of Electronic Filing to the following ECF registrants:

      Stanley M. Ward, OBA #9351 - rstermer@wardglasslaw.com
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                                              s/Jessica L. Craft
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